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                                                                                             U.S. DISTRICT COURT
                                                                                         NORTHERN DISTRICT OF TllXAS
                           IN THE UNITED STATES DISTRICT COUR
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                                NORTHERN DISTRICT OF TEXAS
                                                                                                   MAR 12 2021
                                    FORT WORTH DIVISION                                      "~·--· - .
                                                                                         CLERK, U.S. !)JSTRJCT COURT
                                                                                            By_____,_ _ _ __
                                                                                                      iJe t~i,!,t'-·_ _ _ __,
BENE. KEITH, CO.,                                       §
D/B/A BENE. KEITH FOODS,                                §
                                                        §
                  Plaintiff,                            §
                                                        §
VS,                                                     §    NO. 4:20-CV-133-A
                                                        §
DINING ALLIANCE,              INC.,                     §
                                                        §
                 Defendant.                             §




                                MEMORANDUM OPINION AND ORDER

         Came on for consideration the motions of Foodbuy, LLC

    ("Foodbuy")      and Unity Advantage Group, LLC ("UAG") to dismiss

the claims asserted against them by defendant, Dining Alliance,

Inc. The court, having considered the motions, the responses of

defendant, the replies, the record, and applicable authorities,

finds that Foodbuy's motion should be granted in part and that

UAG's motion should be granted.

                                                       I.

                                Defendant's Claims at Issue 1

        Defendant asserts claims against Foodbuy and UAG for

tortious interference with contractual and/or business

relations, common law unfair competition, attorney's fees,                                             and



1
 The motions and responses contain a discussion as to whether movants are third parties or counterclaim
defendants. The court is persuaded that the latter is the appropriate nomenclature. See Fed. R. Civ. P. l3(h); 6
Charles Alan Wright, At1hur R. Miller, & Maty Kay Kane, Federal Practice & Procedure§§ 1434-35 (3d ed. 2010).
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conspiracy. In addition, it asserts claims against Foodbuy for

breach of contract and punitive damages. Doc.' 46.

           The events giving rise to the claims are roughly as

follows:

           Defendant operates a group purchasing organization for

retail dining and food service establishments, providing its

members the ability to purchase high quality supplies,

inventory, and equipment at significant savings by aggregating

members' purchasing requirements and leveraging them to secure

rebates and favorable pricing. Its clients apply to be members

by submitting a letter of participation. They can terminate

their membership by giving 90 days' written notice.

           Plaintiff, Ben E. Keith Co. d/b/a Ben E. Keith Foods, is a

distributor of food, beverages, and related products and

services. On May 13, 2013, plaintiff and defendant entered into

a purchase agreement pursuant to which defendant's members could

purchase goods and services and plaintiff's customers could

become members of defendant. The contract was for a term of five

years, but would renew for consecutive one-year periods unless

sooner terminated on 120-days' written notice.




2   The "Doc. -~" reference is to the number of the item on the docket in this action.
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        Starting in 2011, Foodbuy served as defendant's rebate

processor. Pursuant to a service agreement, Foodbuy was

defendant's exclusive agent for contracting with food

manufacturers and suppliers for rebates and pricing on products

for defendant's members. Foodbuy received proof of purchase

records through defendant for its members and distributors like

plaintiff who sold products to defendant's members. This

reporting was required for Foodbuy to obtain rebates and special

pricing. In August 2018, defendant and Foodbuy entered into a

confidential settlement and release agreement to wind down their

relationship. Pursuant to the agreement, if Foodbuy received a

notice of termination by one of defendant's members, it would

provide written notice along with the letter of termination

signed by the member to defendant by overnight delivery or

personal delivery and by email to defendant's general counsel.

If notice was not provided as required, Foodbuy could not

invoice manufacturers for rebates using that member's purchase

data.

        Plaintiff gave notice to defendant that the agreement

between them would terminate August 31, 2018. Prior to that

time, plaintiff requested and defendant provided confidential

information regarding defendant's members. Such information was

gathered in preparation to solicit defendant's members to

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terminate their relationship with defendant and to join a newly-

created company, UAG, which also obtained rebates and special

pricing through Foodbuy.

     Plaintiff and defendant engaged in litigation, which

settled in April 2019. Plaintiff agreed to provide retroactive

and ongoing reporting of member proof of purchase data with

respect to defendant's members. In exchange, defendant agreed to

pay plaintiff a monthly administrative fee of $62,500.

Unbeknownst to defendant, plaintiff began sending member letters

of termination to Foodbuy instead of defendant. Plaintiff

provided defendant's member purchase data to UAG and Foodbuy to

enable them to obtain rebates, thereby taking monies that

belonged to defendant.

     Without a valid letter of termination of membership served

on defendant, only defendant was entitled to obtain rebates on

behalf of the member. UAG knew that plaintiff had obligations to

ensure that defendant's members properly terminated their

relationships with defendant before they could be signed up as

UAG members. Foodbuy knew that posting letters of termination on

its website did not constitute proper notice of termination to

defendant, but nevertheless invoiced manufacturers for rebates

on behalf of UAG using defendant's member data.



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                                   II.

                        Grounds of the Motions

     Foodbuy and UAG each maintain that defendant has not

sufficiently pleaded its claims against them.

                                   III.

                      Pertinent Legal Principles

     Rule 8 (al (2) of the Federal Rules of Civil Procedure

provides, in a general way, the applicable standard of pleading.

It requires that a complaint contain "a short and plain

statement of the claim showing that the pleader is entitled to

relief," Fed. R. Civ. P. 8 (al (2),       "in order to give the

defendant fair notice of what the claim is and the grounds upon

which it rests," Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007)   (internal quotation marks and ellipsis omitted). Although

a complaint need not contain detailed factual allegations, the

"showing" contemplated by Rule 8 requires the plaintiff to do

more than simply allege legal conclusions or recite the elements

of a cause of action. Twombly, 550 U.S. at 555         &   n.3. Thus,

while a court must accept all of the factual allegations in the

complaint as true, it need not credit bare legal conclusions

that are unsupported by any factual underpinnings. See Ashcroft

v. Igbal, 556 U.S. 662, 679 (2009)         ("While legal conclusions can

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provide the framework of a complaint, they must be supported by

factual allegations.•).

     Moreover, to survive a motion to dismiss for failure to

state a claim, the facts pleaded must allow the court to infer

that the plaintiff's right to relief is plausible. Igbal, 556

U.S. at 678. To allege a plausible right to relief, the facts

pleaded must suggest liability; allegations that are merely

consistent with unlawful conduct are insufficient. Id. In other

words, where the facts pleaded do no more than permit the court

to infer the possibility of misconduct, the complaint has not

shown that the pleader is entitled to relief. Id. at 679.

"Determining whether a complaint states a plausible claim for

relief .         [is) a context-specific task that requires the

reviewing court to draw on its judicial experience and common

sense."    Id.

                                   IV.

                                Analysis

     The elements of a claim for breach of contract are:           (1)

existence of a valid contract,      (2) performance by one party,        (3)

breach by the other, and (4) damages sustained as a result of

the breach. Smith Int'l,    Inc. v. Egle Grp., LLC, 490 F.3d 380,

387 (5th Cir. 2007). Foodbuy contends that defendant failed to

sufficiently plead that it suffered damages as a result of

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Foodbuy's breach of their settlement agreement. The court does

not agree. Although it appears that defendant primarily blames

plaintiff for the overall scheme, defendant has alleged that

Foodbuy improperly obtained rebates related to defendant's

members for whom proper notice of termination had not been

given. Doc. 46 at   1   40, 43.

     To state a claim for tortious interference with an existing

contract, a party must allege:      (1) the existence of a valid

contract,   (2) an act of interference that was willful and

intentional,   (3) the interference was a proximate cause of

damages, and (4) actual damages or loss occurred. Mumfrey v. CVS

Pharmacy, Inc., 719 F.3d 392, 402 (5th Cir. 2013). In this

instance, Foodbuy says that the claim fails because (1) no

inducement can exists when a contract is legally terminated;            (2)

defendant has not pleaded facts plausibly showing that Foodbuy

interfered with an existing contract; and (3) any argument that

Foodbuy participated in a scheme to tortiously interfere is

insufficient under Texas law.

     Although the court agrees that merely inducing a party to a

contract to do what it has a right to do does not constitute

actionable interference, ACS Investors, Inc. v. McLaughlin, 943

S.W.2d 426, 430 (Tex. 1997), that is not the allegation here.

Instead, defendant maintains that Foodbuy treated the member

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agreements with defendant as though they had been terminated

when it knew that proper termination had not occurred. Doc. 46

at      1   40. Foodbuy then invoiced manufacturers on behalf of UAG

for rebates that should have gone to defendant. Id.                                           11   40,   43-

44. Thus, defendant has asserted a claim against Foodbuy.

            UAG makes the same arguments regarding tortious

interference as Foodbuy. In this instance, however, defendant

does not point to any specific pleadings that support such a

claim against UAG. Defendant cites to                                   1   36 of its amended

counterclaim, which merely recites that UAG knew or should have

known that certain of plaintiff's customers remained members of

defendant and that plaintiff had an obligation to ensure that

they properly terminated their relationships with defendant

before UAG could sign them up. 3 The court cannot discern any

claim for tortious interference against UAG.

            Foodbuy next argues that defendant cannot proceed on its

claim of unfair competition because it has not stated a claim

for tortious interference. See Schoellkopf v. Pledger, 778

S.W.2d 897, 904-05                    (Tex. App.-Dallas 1989, writ denied) (unfair

competition claim must be premised on an independent substantive

tort or other actionable conduct). Defendant has stated such a




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    Defendant's description of the allegations made in ,r 36 is misleading. Doc. 62 at 2-3.
                                                             8
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claim, however, so this ground is without merit.

        UAG makes the same argument as to unfair competition. Here,

as the court has determined, defendant failed to state a claim

for tortious interference against UAG. Accordingly, defendant

cannot proceed with its unfair competition claim against UAG.

        The elements of a claim for civil conspiracy are:           (1) two

or more persons,      (2) an object to be accomplished,        (3) a meeting

of the minds on the object or course of action,             (4) one or more

unlawful, overt acts, and (5) damages as a proximate result.

R.P. Small Corp. v. Land Dep't, Inc., No. CV H-20-1490, 2020 WL

7230719, at *15 (S.D. Tex. Dec. 7, 2020); RTLC AG Prods., Inc.

v. Treatment Equip. Co., 195 S.W.3d 824, 833            (Tex. App.-Dallas

2006, no pet.). As to this claim, Foodbuy and UAG argue that

defendant has made nothing more than conclusory allegations. The

court agrees. At best, defendant says that plaintiff, UAG, and

Foodbuy acted "in concert." Doc. 46 at          1   40. In response to

Foodbuy's motion, defendant argues that it has pleaded much

more, but does not cite to any allegations of its pleading in

support. Doc. 61 at 11-12. In response to UAG's motion,

defendant refers to "detailed allegations describing and clearly

demonstrating an intricate and interdependent plan," citing to

11   27-45 of the amended counterclaim. Doc. 62 at 3. The very

description of an "interdependent plan" calls into question any

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meeting of the minds. The paragraphs cited do not allege any

facts to support a meeting of the minds. Rather, they primarily

concern plaintiff's actions. Defendant has not stated a

plausible conspiracy claim against Foodbuy or UAG.

     Foodbuy next urges that defendant's claim for punitive

damages must be dismissed. However, dismissal of such claim

would be·premature at this time as there are underlying claims

for which such an award might be appropriate.

     Finally, Foodbuy and UAG each argue that defendant has not

stated any basis for the recovery of attorney's fees against

them. They point out that attorney's fees under Tex. Civ. Prac.

& Rem. Code§ 38.001 are not available against limited liability

companies. Al-Saud v. Youtoo Media LP,      754 F. App'x 246, 254

(5th Cir. 2018); Hoffman v. L&M Arts, No. 3:10-CV-953-D, 2015 WL

1000838, at *10 (N.D. Tex. Mar. 6, 2015), aff'd in part, rev'd

in part on other grounds, 838 F.3d 568, 583 n.14         (5th Cir.

2016) (declining to decide the issue but noting that an

inter~ediate Texas court agreed with the district court that the

statute only permitted recovery of attorney's fees from an

individual or corporation). Defendant does not disagree that

statutory fees are not available. It does note that its contract

with Foodbuy allows recovery of attorney's fees.



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                                   V.

                                  Order

     The court ORDERS that Foodbuy's motion be, and is hereby,

granted in part, and that defendant's claims against Foodbuy for

conspiracy and statutory attorney's fees be, and are hereby,

dismissed.

     The court further ORDERS that UAG's motion to dismiss be,

and is hereby, granted; that defendant's claims against UAG be,

and are hereby, dismissed; and that defendant take nothing on

its claims against UAG.

     The court determines that there is no just reason for delay

in, and hereby grants, final judgment as to the dismissal of

defendant's claims against UAG.

     SIGNED March   J,i   2021.




                                                             Judge




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